                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN

                                         COURT MINUTES

 HON. Nancy Joseph, presiding                              Deputy Clerk: Becky Ray

 DATE: May 2, 2019 at 2:30 PM                              Court Reporter: Rich Ehrlich

 CASE NO. 17-CR-124                                        Time Called: 2:35:42 PM

 UNITED STATES v. Marcus Hutchins                          Time Concluded: 2:57:14 PM

 PROCEEDING: CHANGE OF PLEA HEARING

 UNITED STATES by: Benjamin Proctor, Benjamin Taibleson
 PROBATION OFFICER: Jim Fetherston
 DEFENDANT: Marcus Hutchins, in person, and by
 ATTORNEY: Daniel Stiller


Plea Agreement filed: April 19, 2019

Hearing Details:
The defendant orally consents to proceeding before a magistrate judge for this matter. The government
consents. Defendant sworn. The court questions the defendant as to his understanding of the plea
agreement. The defendant agrees to the facts as summarized in the plea agreement. The government’s
offer of proof is found in Attachment A.

Maximum Penalties:
Count 1 – Up to five years imprisonment, $250,000 fine, 1 year of supervised release, $100 special
assessment
Count 2 – Up to five years imprisonment, $250,000 fine, 1 year of supervised release, $100 special
assessment

Plea: Guilty     to Counts 1 & 2     of the Superseding Indictment

The court finds the defendant competent to enter a plea. He knows his rights, the penalties involved,
and his plea of guilty is voluntary. The court will recommend to Judge Stadtmueller that a plea of guilty
be accepted and the defendant be adjudged guilty of this offense.

 X Presentence Report ordered - Rule 32(e)(2) waived in the Plea Agreement

Deadlines:
Presentence Report due: July 1, 2019
Objections due: July 11, 2019
Responses due: July 18, 2019

Sentencing date: July 26, 2019 at 11:30 a.m. before Judge J.P. Stadtmueller
